                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

In the Matter of:
                                                    Chapter 7
Laura Lynne Lucas,                                  Case No: 19-30218-dof
            Debtor.                                 Judge Opperman
                                                    Adversary Proceeding No. 19-03039-dof

___________________________________/

Tracy B. Sutton,
              Plaintiff,

v.

Laura Lynne Lucas,
            Defendant/Debtor.

____________________________________/


                                CERTIFICATE OF SERVICE


        I certify that on May 2, 2019, I served a copy of the Reissued Summons and a Copy of
the Complaint in an Adversary Proceeding along with a copy of this Certificate of Service upon
the Debtor, Laura Lynne Lucas by First Class Mail at 114 Twin Oaks Drive, Lapeer, Michigan
48446 and I filed this Certificate of Service of the Reissued Summons in an Adversary
Proceeding with the Court using the ECF system which will send notification of such filing to
the following interested parties by either first class mail and/or through the ECF system to all
interested parties, Attorney’s of Record, The Trustee and all creditors listed below:

NONE.




                                                    /s/Ramsey H. Mashni
                                                    Ramsey H. Mashni (P51314)
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